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United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

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m:rnm;:»§:;: J:d:: John W' Dmah tha:gAs:i`::ed Jud;;

CASE NUMBER 08 C 1064 DATE 6/17/2003
CASE Thc Quay Corp., lnc. vs. Los Galanes Supennarket, Inc.
TITLE

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Plaintiff’ s motion for entry Of' default judgment and order is grahted [5]. Entel‘ Default Jud

g1nentand Order.

 

 

 

 

 

 

 

 

- [ For fm'ther detail see separate urder(s).] D°°WE '° mail m‘im'
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